Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 1 of 32




                EXHIBIT B
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 2 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 3 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 4 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 5 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 6 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 7 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 8 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 9 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 10 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 11 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 12 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 13 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 14 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 15 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 16 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 17 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 18 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 19 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 20 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 21 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 22 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 23 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 24 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 25 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 26 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 27 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 28 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 29 of 32
Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 30 of 32
                       Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 31 of 32


                                                               AFFIDAVIT OF SERVICE

     Case:              Court:                                                County:                       Filed Job:
                                                                                                                   and Attested by the
     220700782           Pennsylvania Court of Common Pleas                   Philadelphia                 Office 7347016
                                                                                                                   of Judicial Records
                                                                              Defendant / Respondent:          20 JUL 2022 10:41 am
     Plaintiff / Petitioner:
     Charlene Joyner                                                          OFM, lnc., et al                       B. MERCEDES
     Received by:                                                             For:
     Legal-Ease EnterPrises                                                   Louis B. Himmelstein & Associates,   P.C.




                                    PREVIEW ONLY
     To be served upon:
     OFM, LLC,

l,Joselynn Cook, being duly sworn, depose and say: I am over
                                                             the age of 1 8 years and not a party to this action, and that within the
boundaries of the state where service was effected, lwas authorized by lawto make service of the documents and informed said person of
the contents herein

Recipient Name / Address: oFM, LLC., Company: 161 Tradition Trl, Holly springs, Nc 27540
Manner of Service:        Mall, Jul 18,2022,1 1 :36 am EDT
Documents:
Additional comments:                PREVIEW ONLY
                                    Cover Sheet, Complaint, Verification, Exhibit A



1 ) Successful Attempt: Jul i8,2022,1 1 :36 am EDT

Certified mail. See the attached.
                                                   at Company: 1 61 Tradition Trl, Holly Springs, NC 27540 received by OFM' LLC"




                                    PREVIEW ONLY
                                                  0711912022

 Joselynn Cook

     Legal-Ease EnterPrises
     2424 EYork Street, Suite 321
     Philadelphia, PA 19125




                                    PREVIEW ONLY

                                    PREVIEW ONLY


                                                                                                                             Case ID: 220700782
               Case 2:22-cv-03153-GEKP Document 2-2 Filed 08/08/22 Page 32 of 32


                                                            AFFIDAVIT OF SERI/ICE

  Case:               I Court:                                              county                          Filed     and Attested by the
                                                                                                               I J"ut
  22O7OO7B2 I Pennsvlvania Court of Commorr Pleas                           Philade phia                   Office
                                                                                                               |      of Judicial Records
                                                                                                                 7346991
  Plaintiff   / Petitioner:                                                 Defend rnt / Respondent:           22 JUL 2022 02:44 pm
  Charlene loyner                                                           OFM, ln:., et al                           B. MERCEDES
  Received by:                                                              For:
  LegaFEase Enterprises                                                     Louls B. Himmelstein & Associates,   P.C.




                              PREVIEW ONLY
 To b€ 3elved upon:
 OFM, hC,

l,FredLane,beingdulysworn,deposeandsay: Iamovertheageof IEyearsardnotapartytothisaction andthatwitrlnthe boundariesof
the state where service was effected, I was authorized by law to make serylce oi the documents and informed said person of the contents
herein

Racipi€nt Nam€ /      Address:   Dan Grady, Corporate: 161 Tradition Trl, Holly Sprrngs, NC 27540
Ma   nner of Service:            Authorized, Jul 22,2022, 1 2;30 pm   EDT

Documents:                       Cover Sheet, Complaint. Verification. Fxhibit A

Additional Comments:

                              PREVIEW ONLY
1) Suc(essf!l Attemptlrul 22, 2022,12:30 pm
Ethnicaty: caucasian; Genderi Male;
Person ln Chartc at business
                                                EDT at Corporate;161 Traditlon Tr. HollySprlngs. NC 27540 received by Dan Grady, Agei 50i
                                       weight: 180; Height: 6'0"; Hair: other; Reiatir)nship: vP of Flnance:




                                                   ')-a*              ae-,

                              PREVIEW ONLY
Fred Lane


Legal-Ease Enterprises
2424 E. York 51., Suite 321
PhiladelPhia. PA 1 91 25




                              PREVIEW ONLY

                              PREVIEW ONLY


                                                                                                                                 Case ID: 220700782
